Case 2:20-cr-00078-JLB-MRM Document 17 Filed 05/12/20 Page 1 of 2 PageID 76




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

UNITED STATES OF AMERICA

v.                                                 Case No. 2:20-cr-78-FtM-60MRM

FLORIDA CANCER SPECIALISTS
& RESEARCH INSTITUTE, LLC
____________________________________/

                                       ORDER

       THIS CAUSE comes before the Court upon the “Consent Motion for

Approval of Deferred Prosecution Agreement and Exclusion of Time Under Speedy

Trial Act” (Doc. 10). Upon review and consideration, it is hereby

      ORDERED and ADJUDGED that:

      1.     The “Consent Motion for Approval of Deferred Prosecution Agreement

and Exclusion of Time Under Speedy Trial Act” (Doc. 10) is GRANTED.

      2.     The Deferred Prosecution Agreement (“DPA”) (Doc. 3) is approved.

      3.     Because the Defendant expressly waived all rights to a speedy trial for

the period that the DPA is in effect, the Court finds that the ends of justice served

by granting the motion outweigh the best interest of the public and the Defendant

in a speedy trial. See 18 U.S.C. § 1361.

      4.     Pursuant to 18 U.S.C. § 3161(h)(2), the period from the date of this

Order to December 31, 2023, plus the period of any extension of the DPA term

pursuant to the DPA up to one additional year, is excluded in computing the time
Case 2:20-cr-00078-JLB-MRM Document 17 Filed 05/12/20 Page 2 of 2 PageID 77




within which any trial must be commenced upon the charges contained in the

criminal Information filed against the Defendant.

      5.     The Government is directed to file a status report with the Court every

six months, from the date of this Order.

      6.     The Clerk is directed to administratively close this file.

      DONE and ORDERED in Fort Myers, Florida, this 12th day of May, 2020.




                                        TOM BARBER
                                        UNITED STATES DISTRICT JUDGE




                                      Page 2 of 2
